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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1195V
                                      Filed: October 28, 2021
                                          UNPUBLISHED


    LINDA LEASURE,                                              Special Master Horner

                          Petitioner,
    v.                                                          Damages Decision Based on Proffer;
                                                                Influenza (Flu) Vaccine; Shoulder
    SECRETARY OF HEALTH AND                                     Injury Related to Vaccine
    HUMAN SERVICES,                                             Administration (SIRVA)

                         Respondent.


Leah V. Durant, Law Offices of Leah V. Durant, PLLC, Washington D.C., for petitioner.
Kyle E. Pozza, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION AWARDING DAMAGES 1

      On August 14, 2019, Linda Leasure filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (SIRVA). (ECF No. 1.)

       On July 13, 2021, a ruling on entitlement was issued, finding petitioner entitled to
compensation for a Shoulder Injury Related to Vaccine Administration (SIRVA). On
October 26, 2021, respondent filed a proffer on award of compensation (“Proffer”)
indicating petitioner should be awarded a lump sum of $123,369.54 consisting of
$120,000.00 for actual pain and suffering and $3,369.54 for past unreimbursed expenses.
(ECF No. 36) In the Proffer, respondent represented that petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that petitioner is entitled to an
award as stated in the Proffer.


1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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       Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $123,369.54, representing $120,000.00 for actual pain and suffering
and $3,369.54 for past unreimbursed expenses, in the form of a check payable to
petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3


IT IS SO ORDERED.


                                                         s/Daniel T. Horner
                                                         Daniel T. Horner
                                                         Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
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          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS


 LINDA LEASURE,

                       Petitioner,

 v.                                                   No. 19-1195V
                                                      Special Master Horner
 SECRETARY OF HEALTH AND                              ECF
 HUMAN SERVICES,

                       Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

      On July 9, 2021, respondent filed a Vaccine Rule 4(c) report conceding that entitlement to

compensation was appropriate under the terms of the Vaccine Act. ECF No. 29. On July 13,

2021, Special Master Horner issued a Ruling on Entitlement, finding that petitioner received an

influenza (“flu”) vaccination on October 31, 2018, and was entitled to vaccine compensation for

her Shoulder Injury Related to Vaccine Administration (“SIRVA”), as defined in the Vaccine

Injury Table, and related sequela. ECF No. 30.

I.    Amount of Compensation

       Respondent now proffers that, based on the Special Master’s entitlement ruling and the

evidence of record, petitioner should be awarded a lump sum of $123,369.54, consisting of the

following: $120,000.00 for actual pain and suffering, and $3,369.54 for past unreimbursed

expenses. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.




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    II. Form of the Award

    The parties recommend that the compensation provided to petitioner should be made as

described below, and request that the Special Master’s damages decision and the Court’s

judgment award the following:   1


    A. Petitioner’s Damages

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $123,369.54, in the form of a check payable to petitioner.

Petitioner agrees.

    B. Guardianship

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              DARRYL R. WISHARD
                                              Assistant Director
                                              Torts Branch, Civil Division




1 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.


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                                    /s/ Kyle E. Pozza_____________
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Dated: October 26, 2021




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